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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY

                                        )
    IN RE: JOHNSON & JOHNSON            )
    TALCUM POWDER PRODUCTS              )
    MARKETING, SALES PRACTICES AND )                    MDL No. 2738 (MAS) (RLS)
    PRODUCTS LIABILITY LITIGATION       )
    ___________________________________ )
                                        )
    This Document Relates To All Cases  )
                                        )

        NOTICE OF DEFENDANTS’ MOTION TO STRIKE PLAINTIFFS’
                 IMPROPER SUPPLEMENTAL REPORTS

          PLEASE TAKE NOTICE that on January 16, 2024, or as soon thereafter as

    counsel may be heard, the undersigned Defendants’ counsel, on behalf of all

    Defendants named below, shall move pursuant to Federal Rules of Civil Procedure

    26(a)(2)(D) and 37(c)(1) for an entry of Order (1) striking the expert reports of Drs.

    Cote, Harlow, Rothman and Newman in full; (2) striking the case-specific portion

    of Dr. Levy’s new report; and (3) requiring Drs. Singh, Siemiatycki, Smith-

    Bindman, McTiernan, Longo and Kessler to submit supplemental reports that only

    address scientific developments after July 2021. As is further explained in the

    Memorandum in Support filed herewith, the opinions in question were not timely

    disclosed, and the failure to timely disclose the opinions is neither justified nor

    harmless.
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          In the alternative, Defendants seek an order extending each of the upcoming

    expert-related deadlines by four weeks, with depositions of plaintiffs’ experts to be

    completed by February 19, 2024; disclosure of rebuttal experts and reports due April

    1, 2024; and depositions of defendants’ experts to be completed by May 13, 2024.

          PLEASE TAKE FURTHER NOTICE that in support of their motion, the

    undersigned defendants shall rely upon the Memorandum of Law in Support

    submitted herewith, and any reply submissions made hereafter and the Certification

    of Susan Sharko, Esq. together with exhibits; and

          PLEASE TAKE FURTHER NOTICE that a proposed Order is submitted

    herewith; and

          PLEASE TAKE FURTHER NOTICE that oral argument is requested.


    Dated: December 14, 2023               By: /s/ Susan M. Sharko
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